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                  IN THE UNITED STATES DISTRIC COURT FOR THE
                      SOUTHERN DISTRICT OF WEST VIRGINIA
                             HUNTINGTON DIVISION


   JONATHAN R., et al.,

   Plaintiffs,
                      v.

   JIM JUSTICE, in his official capacity as                  Case No. 3:19-cv-00710
   Governor of West Virginia, et al.,

   Defendants.


                                    NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs Jonathan R., et al. in the above-named case hereby

appeals to the United States Court of Appeals for the Fourth Circuit from the orders granting De-

fendants’ Motion to Dismiss, (ECF No. 17); Defendants’ Motion to Dismiss the Claims of Named

Plaintiffs Chris K., Calvin K., and Carolina K., (ECF No. 55); Defendants’ Motion to Dismiss the

Claims of Named Plaintiff Garrett M., (ECF No. 88); Defendants’ Motion to Clarify Plaintiffs’

Proposed Class Definition and to Dismiss Named Plaintiff Gretchen C., (ECF No. 107); and De-

fendants’ Motion to Dismiss the Claims of Named Plaintiff Serena S., (ECF No. 167), entered in

this action on the 28th day of July, 2021, as well as from the final judgment order subsequently

entered in this action on the 29th day July, 2021, (ECF No. 258).

                                                     Jonathan R. et al.,

                                                     Plaintiffs

                                                     By Counsel:

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  Governor of West Virginia, et al.,

  Defendants.

                               CERTIFICATE OF SERVICE

       I, Richard W. Walters, counsel for Jonathan R., et al., do hereby certify that on this 4th

day of August, 2021, I electronically filed a “Notice of Appeal” with the Clerk of the Court

using the CM/ECF system, which will send notification of such filing to the following counsel

of record:

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